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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

DAVID FISHER,                                  §
                                               §
                      Plaintiff,               §
v.                                             §     Case No. 1:17-cv-00382
                                               §
PRIMERICA LIFE INSURANCE                       §
COMPANY AND ANTHONY                            §
WOODRUFF,                                      §
                                               §
                      Defendants.              §

                                   NOTICE OF REMOVAL

        Defendant Primerica Life Insurance Company (“Primerica”) files this notice of

removal and states:

        1.    The Lawsuit.         Plaintiff David Fisher (“Plaintiff”) filed his Plaintiff’s

Original Petition on August 7, 2017, in the 172nd Judicial District Court, Jefferson County,

Texas, being numbered E-200489 (the “Petition”) on the docket of said court and being a

suit to recover benefits under a life insurance policy (the “Policy”).

        2.    Diversity Jurisdiction. Complete diversity of citizenship exists between

Plaintiff, on the one hand, and Primerica on the other hand, as they are citizens of different

states. Plaintiff was a citizen of Texas at the time this action was filed and remains a citizen

of Texas as of the date of this removal. Primerica is a Massachusetts corporation with its

principal place of business in Georgia, both at the time this action was filed and as of the

date of this removal. The amount in controversy exceeds $75,000, as Plaintiff seeks

“monetary relief of $200,000 but not to exceed $1,000,000.” (Petition ¶ 5.) The Court


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thus has original jurisdiction over this action pursuant to 28 U.S.C. § 1332, and this action

may be removed by Primerica pursuant to 28 U.S.C. § 1441. Venue is proper in this Court

under 28 U.S.C. § 1391, as this action was pending in a state court within this district and

division.

       3.       Fraudulent Joinder of Woodruff. The Court may disregard the citizenship

of Woodruff, as he has been fraudulently joined by Plaintiff solely to prevent the removal

of this action by defeating diversity of citizenship. Primerica was solely responsible for

the decision to deny Plaintiff’s claim, and the payment of any life insurance proceeds will

come from Primerica. Moreover, Plaintiff’s Petition does not contain any viable theory of

liability against Woodruff that was a producing cause of damages to Plaintiff. Accordingly,

the only reason that Woodruff was sued in this case was to prevent removal, and his

citizenship should be disregarded. Additionally, Woodruff has not been served or appeared

in this case.

       4.       Removal is Timely. Primerica was served on August 17, 2017, by certified

mail. As such, this removal is timely under 28 U.S.C. § 1446(b).

       5.       Local Rule 81 Requirements. In accordance with Local Rule CV-81(c)(2),

attached hereto as Exhibit A is an Index of State Court Matters, which contains true and

correct copies of the state court docket sheet, all process, pleadings, or orders received or

filed in this action as of the filing of this removal. Also attached hereto as Exhibit B are

the items required by Local Rule 81(c)(1), (3), (4), and (5).

       6.       Consent to Removal. Since he has been fraudulently joined, Woodruff need

not consent to this removal.

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       7.     Relief Requested. Primerica respectfully requests that the United States

District Court for the Eastern District of Texas, Beaumont Division, accept this notice of

removal and that it assume jurisdiction of this cause and issue all such further orders and

processes as may be necessary to bring before it all parties necessary for the final trial

hereof.

                                          Respectfully submitted,


                                          By: /s/ Bill E. Davidoff
                                               Bill E. Davidoff
                                               Texas Bar No. 00790565
                                               bill.davidoff@figdav.com

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                                          ATTORNEYS FOR DEFENDANT
                                          PRIMERICA LIFE INSURANCE COMPANY

                            CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of September, 2017, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification
of such filing to all parties who have appeared and registered with CM/ECF.


                                       /s/ Bill E. Davidoff
                                      Bill E. Davidoff




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